                    Case: 1:18-cv-01468 Document #: 8 Filed: 03/05/18 Page 1 of 2 PageID #:714
(Revised   12lll)
                           United States District Court Northern District of Illinois                                                            6\r'
                           MOTION FOR LEAVE TO                   PRO HAC VICE
       Title:                                                                                                        Plantiff(s)
                    Whitebox Advisors, LLC



                    Earl of Sandwich (Atlantic City), LLC                    [fi,*?U$jri3iH,[H[gilr,                 Derendant(s)


Case   Number: 18-cv-1468                                    .    Judge: Honorable Judge Robert W. Gettleman


,L,   Avanna Lewis-Gruss
       '                                                                                                    hereby apply to the Court


under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf                         of

Whitebox Advisors, LLC                                                                             by whom I have been retained.


I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          DateAdmitted

                                               New York State                                                             7t23t2003

                The United States District Court for the Southem District of New York                                      s1212008

                The United States District Court for the Eastern District of New York                                      51212008

                The United States District Court for the Northern District of New York                                     512912015


I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
      Case Number                                           Case Title                                      (Granted or Denied)*




*lf denied, please explain:
(Attach additional form if
necessary)

Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service   of
papers may be made.

                                    Has the applicant designated local    counsel?     Yes
                                                                                             V
Ifyou have not designated local counsel, Local Rule 83.15(b) provides that the designat ion must be made within thirty (30) days.
               Case: 1:18-cv-01468 Document #: 8 Filed: 03/05/18 Page 2 of 2 PageID #:715
Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?                 Yes
                                                                                              tr             No
                                                                                                                    n
or is the appticant currently the subject ofan investigation ofthe
applicant's professional conduct?                                                       Yes
                                                                                              tr             No
                                                                                                                    V
transferred to inactive status, voluntarily withdrawn, or resigned from the
bar of any court?                                                                             tr             No
                                                                                                                    V
denied admission to the bar of any court?                                               Yes
                                                                                              T               No
                                                                                                                    V
held in contempt of court?                                                              Yes
                                                                                              T                      a
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant's current
status before any court, or any agency thereoi where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant's conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northem District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


March 2,2018                                               97   Ayanna Lewis-Gruss

                   Date                                               Electronic Signature of Applicant


                               Last Name                                         First Name                            Middle Name/Initial
Applicant's Name
                             Lewis-Gruss                                        Ayanna

Applicant's Law Firm         Orrick, Herrington & Sutcliffe LLP

                               Street Address                                                                          Room/Suite Number
Applicant's Address
                             5l   West 52nd Street

                               Ciry                        State                 ZIP Code            Work Phone Number

                             New York                     NY                    10019-6142          212-506-37t9

(The pro hac vice admission fee is $100.00 for cases filed before February 1,2001, and $50.00 for cases filed on or after that
date, and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such time as the fee has been paid.)



           Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
           fee for admission to the General Bar is $176.00 The fee for pro hac vice admission is $100.00 for cases filed before February l,
           2001 , and $50.00 for cases filed after that date. Admission to the general bar permits an attomey to practice before this Court.
           Pro hac vice admission entitles an attomey to appear in a particular case only. Application for such admission must be made in
           each case; and the admission fee must be paid in each case.




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